  Case 1:25-cr-00191-LMM-RDC        Document 14      Filed 04/23/25    Page 1 of 3

                                                                      FILED IN OPEN COURT
                                                                          U.S.D.C. Atlanta
                                                                            APR 'I. 3 2025
                                                                      B~e'/P. /:;,vy_pir-Ar, CIP-'k
                                                                          ~~e~
                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


   UNITED ST A TES OF AMERICA

           v.                                Criminal Indictment

   ALIAKB AR MOHAMMAD AMIN                   No.


THE GRAND JURY CHARGES THAT:


                                      Countl

                         Threats by Interstate Communication

   On or about March 29, 2025, in the Northern District of Georgia and
elsewhere, the defendant, ALIAKBAR MOHAMMAD AMIN, consciously
disregarding a substantial risk that his communication would be viewed as
threatening violence, knowingly transmitted a communication in interstate and
foreign commerce, from the State of Georgia to the State of Texas, that contained
a threat to injure Director of National Intelligence Tulsi Gabbard and others;
specifically, AMIN direct messaged DNI Gabbard's husband using the
messaging app Signal, and made statements, which included, but were not
limited to, the following:

       •   "Prepare to die, you, Tulsi, and everyone you hold dear. America will
           burn";

       • "We will find all of you and kill you wherever you may be";

       •   "The home you two own in Texas is a legitimate target and will be hit
           at a time and place of our choosing";
               Case 1:25-cr-00191-LMM-RDC                      Document 14       Filed 04/23/25   Page 2 of 3
       .
:r:.       .~=( 'i r; i, 1, (~
              . • I :· ; ~·.,
                   .. ·. •
                         ... :...




                           •        "Death to America means death to America literally, Tulsi is living on

                                    borrowed time"; and
                           •        "You and your family are going to die soon."

           All in violation of Title 18, United States Code, Section 875(c).
                                                                Count2

                                                     Threats to United States Official
                On or about March 29, 2025, in the Northern District of Georgia and
           elsewhere, the defendant, ALIAKBAR MOHAMMAD AMIN, did knowingly
           threaten to assault and murder an official whose killing would be a crime under
           Title 18, United States Code, Section 1114, that is, Director of National
           Intelligence Tulsi Gabbard, with intent to retaliate against DNI Gabbard on

           account of the performance of DNI Gabbard' s official duties.
           All in violation of Title 18, United States Code, Section 115(a)(l)(B).
                                                                 Count3
                                     Threats to a Member of the Immediate Family of a Federal Official
                On or about March 29, 2025, in the Northern District of Georgia and
           elsewhere, the defendant, ALIAKBAR MOHAMMAD AMIN, did knowingly
           threaten to assault and murder an immediate family member of an official whose
           killing would be a crime under Title 18, United States Code, Section 1114, that is,

           the husband of Director of National Intelligence Tulsi Gabbard, with intent to
           retaliate against DNI Gabbard on account of the performance of DNI Gabbard' s
           official duties.
           All in violation of Title 18, United States Code, Section 115(a)(l)(A).

                                                                     2
         Case 1:25-cr-00191-LMM-RDC         Document 14   Filed 04/23/25   Page 3 of 3

•   I




                                                                                   BILL




        RICHARDS. MOULTRIE, JR.
         Acting United States Attorney


        MATTHEW S. CARRICO
         Assistant United States Attorney
        Georgia Bar No. 538608


        600 U.S. Courthouse
        75 Ted Turner Drive SW
        Atlanta, GA 30303
        404-581-6000; Fax: 404-581-6181




                                                3
